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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                              CASE NO. 3:08cr22 LAC

NEVILLE MCGARITY, aka “Wraith”

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on December 29, 2008
Motion/Pleadings: MOTION TO BE EXCUSED FROM CASE MANAGEMENT
CONFERENCE (scheduled for 12/29/08 at 1:30pm)
Filed by DEFENDANT                     on 12/29/08   Doc.# 415

RESPONSES:
                                               on                      Doc.#
                                               on                      Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the   foregoing,       it   is     ORDERED   this    29 th   day   of
December, 2008, that:
(a) The relief requested is DENIED.
(b)




                                                                s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
